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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN


In re:

     Albert Anthony Verone,                                  Case No. GL 21-02397
                                                             Chapter 7
                                                             Hon. John T. Gregg
                                Debtor. /


              MOTION TO DISMISS CASE PURSUANT TO 11 U.S.C. § 707(a)

         Andrew R. Vara, United States Trustee for Regions 3 and 9, pursuant to his authority under

11 U.S.C. § 307, states the following in support of his Motion to Dismiss Case Pursuant to 11

U.S.C. § 707(a):

         1.     The Debtor, with the assistance of professional bankruptcy counsel, filed a

voluntary chapter 7 petition on October 26, 2021.

         2.     The Debtor has not filed a certificate from an approved nonprofit budget and credit

counseling agency or a copy of the debt repayment plan from such credit counseling agency as 11

U.S.C. § 521(b) requires. Fed. R. Bankr. P. 1007(c) requires the Debtor to file these documents

with the petition for relief.

         3.     The Debtor’s failure to file this required document justifies dismissal of this case

under 11 U.S.C. § 707(a).

         4.     Further, to the extent that the Debtor did not timely seek and obtain credit

counseling, the Debtor is not eligible for relief under Title 11 pursuant to 11 U.S.C. § 109(h)(1)

which provides further justification for dismissal of this case for cause under 11 U.S.C. § 707(a).

         5. Furthermore, 11 U.S.C. Section 521(a)(1) requires the Debtor to file a schedule of

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assets and liabilities, a schedule of current income and expenditures, and a statement of financial

affairs. Fed. R. Bankr. P. l007(c) requires the Debtor to file these documents with the petition for

relief or within fourteen (14) days after the filing of the petition for relief if the Debtor files a list

of all creditors and their addresses with the petition.

        5.      Specifically, the Debtor has not filed a complete statement of financial affairs as

Part 2, questions 4 and 5 do not list current year and two prior years of income.

        WHEREFORE, pursuant to 11 U.S.C. § 707(a) the U.S. Trustee respectfully asks that this

Court dismiss this proceeding and provide such other relief as is just and appropriate.

                                                          Respectfully submitted,

                                                          ANDREW R. VARA
                                                          United States Trustee
                                                          Regions 3 and 9


Dated: November 10, 2021                        By:       /s/ Kenneth G. Lau
                                                          Kenneth G. Lau
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